      Case 1:24-cv-11927-PBS        Document 36     Filed 01/06/25     Page 1 of 4



                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
CHANNEL 781 NEWS,                   )
                                    )
                     Plaintiff,     )
                                    )
v.                                  )          Civil Action
                                    )          No. 24-cv-11927-PBS
WALTHAM COMMUNITY ACCESS            )
CORPORATION,                        )
                                    )
                     Defendant.     )
                                    )


                                        ORDER

                                January 6, 2025

Saris, D.J.

      Plaintiff Channel 781 News (“Channel 781”) operates a YouTube

channel    with     videos     of    news       about    the    City    of    Waltham,

Massachusetts. Some of these videos are clips of meetings of the

Waltham City Council that Channel 781 excerpts from recordings of

the full meetings posted online by Defendant Waltham Community

Access Corporation (“WCAC”). In September 2023, WCAC sent multiple

takedown notices to YouTube claiming that Channel 781’s videos

amounted to copyright infringement. YouTube temporarily removed

the videos and disabled Channel 781’s channel. Contending that its

videos constituted fair use, Channel 781 sued WCAC under 17 U.S.C.

§ 512(f)   for     knowingly    and    materially        misrepresenting       in    its

takedown notices that Channel 781’s videos were infringing. WCAC

now   moves   to   dismiss     under     Federal        Rule   of    Civil   Procedure
                                            1
         Case 1:24-cv-11927-PBS    Document 36       Filed 01/06/25    Page 2 of 4



12(b)(6). See Conformis, Inc. v. Aetna, Inc., 58 F.4th 517, 527-

28 (1st Cir. 2023) (describing Rule 12(b)(6) standard).

         WCAC argues that Channel 781 has not plausibly pled that its

videos were fair use and, thus, that WCAC misrepresented that the

videos were infringing. See Monsarrat v. Newman, 28 F.4th 314, 321

(1st Cir. 2022) (describing fair use and relevant factors). I

disagree.      Channel     781    alleges       1) that   WCAC’s      recordings       are

factual records of the meetings with little creative expression,

see id. at 323 (“The scope of fair use is narrower when works ‘fall

closer to the creative end of the copyright spectrum than the

informational or factual end’ . . . .” (quoting Soc’y of the Holy

Transfiguration Monastery, Inc. v. Gregory, 689 F.3d 29, 62 (1st

Cir. 2012))); 2) that Channel 781’s videos are short clips from

WCAC’s      recordings      that    reflect        editorial       judgments         about

newsworthy segments, see 17 U.S.C. § 107 (listing “news reporting”

as   a    purpose   that    typically       constitutes     fair      use);   Núñez v.

Caribbean Int’l News Corp., 235 F.3d 18, 24 (1st Cir. 2000) (asking

if the amount of copying “is consistent with or more than necessary

to further ‘the purpose and character of the use’” (quoting Castle

Rock Ent., Inc. v. Carol Publ’g Grp., 150 F.3d 132, 144 (2d Cir.

1998))); and 3) that neither WCAC nor Channel 781 operates for

profit or makes money directly from the works at issue, see Google

LLC v. Oracle Am., Inc., 593 U.S. 1, 32 (2021) (“[A] finding that

copying was not commercial in nature tips the scales in favor of

                                            2
     Case 1:24-cv-11927-PBS   Document 36   Filed 01/06/25   Page 3 of 4



fair use.”). Without taking a firm position on Channel 781’s claim

of fair use at this stage, the Court concludes that it is at least

plausible.

     Alternatively, WCAC contends that Channel 781 has failed to

plausibly allege a knowing misrepresentation actionable under 17

U.S.C.   § 512(f).   A   copyright   holder   “faces    liability      if   it

knowingly misrepresented in the takedown notification that it had

formed a good faith belief the video was not authorized by the

law, i.e., did not constitute fair use.” Lenz v. Universal Music

Corp., 815 F.3d 1145, 1154 (9th Cir. 2016). Channel 781 alleges

that before sending the takedown notices, WCAC stated that it would

take action against those using its “content to score political

points” or “encourage residents to hate.” Dkt. 1 ¶ 28. In later

discussions between the parties, Channel 781 explained why it

believed its videos constituted fair use. See id. ¶¶ 29-30, 35.

WCAC responded that “any use of the clips by Channel 781 required

permission” and that Channel 781’s videos “would be more acceptable

to WCAC if Channel 781 used them only to report facts, but not to

express opinions or further an agenda.” Id. ¶¶ 31-32 (emphasis

added). These allegations support a reasonable inference that WCAC

sent the takedown notices based on factors other than a good faith

belief that Channel 781’s videos were not fair use and that WCAC

knew it was doing so. See Lenz, 815 F.3d at 1154 (explaining that



                                     3
       Case 1:24-cv-11927-PBS   Document 36   Filed 01/06/25   Page 4 of 4



if a copyright holder fails to “consider fair use before sending

a takedown notification, it is liable for damages under § 512(f)”).

Channel 781 has adequately pled a misrepresentation claim under

§ 512(f).

       Accordingly, the Court DENIES WCAC’s motion to dismiss (Dkt.

16).



SO ORDERED.

                                          /s/ PATTI B. SARIS__________
                                          Hon. Patti B. Saris
                                          United States District Judge




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